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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10         UNITED STATES OF AMERICA,                   CASE NO. C12-1282JLR

11                              Plaintiff,             ORDER DIRECTING PAYMENT
                  v.                                   OF MARCH 2023 INVOICE
12
           CITY OF SEATTLE,
13
                                Defendant.
14

15         The court hereby APPROVES the Seattle Monitoring Team’s March 2023 invoice

16   and DIRECTS the Clerk to draw a check on the funds deposited in the registry of this

17   court in the principal amount of $26,544.00 to pay the March 2023 invoice; to make the

18   check payable to LNW Group LLC; and to mail the check to the payee.

19         Dated this 26th day of May, 2023.

20

21                                                  A
                                                    JAMES L. ROBART
22                                                  United States District Judge


     ORDER - 1
